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DARLENE C. VIGIL- CA NO, 223442
BARRETT DAFFIN FRAPPIER TREDER & WEISS LLP
20955 PATHFINDER ROAD, SUITE 300                                                                         August 14, 2019
DIAMOND BAR, CA 91765
Phone: (626) 915-5714, Fax: (972) 661-7726
E-mail: sdcaecf@bdfgroup.com File No. 8435117


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U.S. Bank National Association, as Trustee for Lehman
XS Trust Mortgage Pass-Through Certificates Series 2006-12N                                  5612   EAT-1
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Michael D. Dare, Leslie T. Gladstone                                                         'DWHRI+HDULQJ 08/01/2019
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                                                Motion for Relief from the Automatic Stay


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         Case 19-02958-LT7           Filed 08/14/19      Entered 08/14/19 13:50:24           Doc 37      Pg. 2 of 3
 CSD 1159C [/1/](Page 2)
 ORDER ON                                      Motion for Relief from the Automatic Stay
 DEBTOR: Michael D. Dare                                                                   CASE NO.: 19-02958-LT7
                                                                                           RS NO.: EAT-1



The motion of U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR LEHMAN XS TRUST MORTGAGE
PASS-THROUGH CERTIFICATES SERIES 2006-12N (“Movant”), for relief from the automatic stay came on regularly for
hearing by the Court on the date, time and place set forth above, the HONORABLE LAURA S. TAYLOR, United States
Bankruptcy Judge presiding. All appearances were as noted on the record. For the reasons set forth on the record and in the
minutes of the proceedings, it is

ORDERED, ADJUDGED AND DECREED that the motion is granted and the automatic stay pursuant to 11 U.S.C. Section 362
is hereby terminated for all purposes as to Movant in connection with the estate's and the debtor's interest in the real property
commonly known as 1800 SOUTH JUNIPER STREET, ESCONDIDO, CA 92025, located in San Diego County, California.
The legal description of the property is attached as Exhibit A.

ORDERED, ADJUDGED AND DECREED that the 14-day stay of Fed. R. Bankr. P. 4001(a)(3) is not waived.




 CSD 1159C
                                                                           Signed by Judge Laura Stuart Taylor August 14, 2019
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                                 EXHIBIT A
                                                  Signed by Judge Laura Stuart Taylor August 14, 2019
